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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

  DEBRA D. WILLIAMS,

  Plaintiff,                                           Case No. 4:20-cv-00339

  v.                                                   Honorable Judge Nancy F. Atlas

  MIDFIRST BANK,

  Defendant.

                                 NOTICE OF SETTLEMENT

        PLEASE TAKE NOTICE that DEBRA D. WILLIAMS (the “Plaintiff”) and MIDFIRST

BANK (the “Defendant”), hereby notify the Court the parties have reached settlement, and are in

process of completing the settlement agreement and filing dismissal papers. The parties anticipate

filing dismissal papers within 45 days.

DATED: March 27, 2020                                       Respectfully submitted,

                                                            DEBRA D. WILLIAMS

                                                            By: /s/ Mohammed Badwan

                                                            Mohammed Badwan
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